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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


AUTHORS GUILD, et al., individually and on
behalf of others similarly situated,
           Plaintiffs,                             Case No. 1:23-cv-08292-SHS (OTW)
                                                   Case No. 1:23-cv-10211-SHS (OTW)
               v.
OPENAI INC., et al.,                               MOTION FOR LEAVE TO AMEND
                                                   THE COMPLAINT
           Defendants.


JONATHAN ALTER, et al., on behalf of
themselves and all others similarly situated,
         Plaintiffs,
             v.
OPENAI, INC., et al.,

           Defendants.
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                                       NOTICE OF MOTION

          Pursuant to Rule 15(a)(2) of the Federal Rules of Civil Procedure, Plaintiffs in the

Authors Guild and Alter actions (“Plaintiffs”) respectfully seek leave to amend the operative

complaint (“Complaint”), Dkt. 69, to align the pleadings with the facts as revealed in discovery.

Pursuant to Local Civil Rule 15.1(a), a redline showing the proposed amendment and attached

exhibits is attached as Exhibit 1, and a clean copy of the proposed Amended Complaint and

attached exhibits is attached as Exhibit 2.1 Plaintiffs have conferred with Defendants on the

proposed amendment; Defendants oppose it as necessitating additional discovery. For the

reasons stated in the accompanying Memorandum of Law, the Court should grant Plaintiffs leave

to amend the Complaint.




1
    All exhibits referenced in the Motion are attached to the Declaration of Rachel J. Geman.


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                                    MEMORANDUM OF LAW

I.       Introduction

         Plaintiffs seek leave to amend the Complaint to align the pleadings with facts revealed in

discovery. The proposed amendment, filed before the Court’s April 15 deadline to amend, is

timely, in good faith, is not futile, and causes no prejudice at all: there is no trial date, and

discovery is ongoing. Defendants’ objections to the amendment are unfounded, and the Court

should grant Plaintiffs’ Motion because each of the Foman factors weighs in favor of leave to

amend.

II.      Background

         Plaintiffs have been diligently pursuing discovery to develop the factual record. That

discovery has revealed and clarified the scope of Defendants’ liability for copyright

infringement. Accordingly, Plaintiffs seek leave to amend to specify their existing claims and

add a vicarious copyright infringement claim against Microsoft.

         Pursuant to Local Civil Rule 15.1(a), a redline showing the proposed amendment is

attached as Exhibit 1, and a clean copy of the proposed amended complaint is attached as Exhibit

2. On March 19, 2025, Plaintiffs sent Defendants the proposed amended complaint and sought

their position on the amendment. Ex. 3 (email thread regarding amendment). On March 31,

Microsoft refused to consent to the amendment. Id. On April 9, 2025, Plaintiffs again sought

Defendants’ position, notified Defendants of their intention to file this motion by April 11, 2025,

and stated that they would presume Defendants’ opposition unless Defendants stated otherwise.

Id. Defendants did not respond by April 11, 2025.

         The substance of Plaintiffs’ proposed amendment falls into three categories.




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        First, Plaintiffs seek to add as new plaintiffs the “loan-out” companies2 that certain

Plaintiffs created to assist in managing their works. Ex. 1 ¶¶ 48–56. The addition of the loan-out

companies does not change the scope of discovery. In fact, nearly all responsive documents in

the custody of the proposed Plaintiffs have already been produced.

        Second, Plaintiffs seek to clarify and update their direct infringement claims. The

proposed amended complaint alleges with greater specificity (1) that Plaintiffs’ books are

contained in OpenAI’s and Microsoft’s LLMs’ training datasets3; and (2) the precise OpenAI

models which the Court already ruled are within the scope of the current complaint, Ex. 1 ¶¶ 4,

99. See Dkt. 293 (limiting certain discovery to models set forth in OpenAI’s response to

Interrogatory No. 11); Ex. 4 (OpenAI’s Supplemental Response to Interrogatory No. 11)

(including                                                                                ). In

support of its current direct infringement claim, Plaintiffs’ amendment also adds allegations of

Microsoft’s copying of hundreds of thousands of copyrighted works—including those contained

in                                                            and the notorious pirated dataset

“Books3”—for use as LLM training data. Ex. 1 ¶ 68, 146, 150–55.

        Third, the proposed amended complaint alleges a vicarious infringement claim against

Microsoft (presently there are both direct and contributory claims, but not a vicarious

infringement claim). Ex. 1 ¶¶ 137–38, 141, 144, 147–49, 182. Based on the facts revealed in

discovery, Plaintiffs allege that Microsoft profited from OpenAI’s direct infringement while



2
  A “loan-out” company in the copyright context loans out the services of an individual, often an
author, and enters into contracts to license the copyright on the author’s behalf. See Waite v.
UMG Recordings, Inc., 450 F. Supp. 3d 430, 441 (S.D.N.Y. 2020). After Defendants reviewed
the proposed amended complaint and rejected the addition of any loan-out companies, Plaintiffs
added Wo & Shade LLC as an additional plaintiff. See Ex. 1 ¶ 56.
3
  Ex. 1 ¶¶ 187, 198, 212, 213, 225, 226, 243, 254, 265, 276, 285, 296, 306, 322, 337, 348, 359,
373, 400, 411.



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declining to exercise its right to stop or limit that infringement. Ex. 1 ¶¶ 68, 137, 141. Discovery

related to this vicarious infringement claim overlaps significantly with Plaintiffs’

direct/contributory claims against Microsoft, and will entail minimal, if any, new discovery.

III.   Legal Standard

       A request for leave to amend filed after the time to amend by right has passed but before

the “expiration of a specified period of time in a scheduling order” is governed by Rule 15(a)(2).

Sacerdote v. New York Univ., 9 F.4th 95, 115 (2d Cir. 2021). Under Rule 15(a)(2), “[t]he court

should freely give leave when justice so requires.” The rule sets out “a liberal and permissive

standard[.]” Sacerdote, 9 F.4th at 115. To evaluate a request for leave to amend, courts balance

the following four factors set out in Foman v. Davis, 371 U.S. 178, 182 (1962): “undue delay,

bad faith, futility of amendment, or undue prejudice to the opposing party.” Argentum Risk

Partners LLC v. Schaeffer, No. 19-cv-1622, 2021 WL 10917352, at *1 (S.D.N.Y. Jan. 29, 2021)

(Wang, J.) (citing Foman, 371 U.S. at 182).

IV.    Argument

       The Court should grant leave to amend because each of the Foman factors weighs in

favor of leave to amend.

       A.      Plaintiffs’ Amendment Is Timely.

       Plaintiffs’ request for leave to amend is timely because it falls before the April 15, 2025

deadline to amend set by this Court.4 See Dkt. 293; Dkt. 296 at 146:17; Ap-Fonden v. Goldman

Sachs Grp., Inc., No. 18-cv-12084, 2023 WL 4865617, at *4 (S.D.N.Y. July 31, 2023) (no undue

delay when leave to amend is sought within the deadline set by the Court). Courts routinely grant

leave to amend when new facts are discovered and promptly raised with the court, even after the


4
  Should the Court prefer another procedure, Plaintiffs respectfully suggest that this motion
alternatively could be deemed a pre-motion conference letter.



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deadline to amend has passed (unlike here). See Argentum, 2021 WL 10917352, at *1 (granting

leave to amend to add parties and claims revealed in discovery after the deadline to amend

passed). The proposed amendment reflects Plaintiffs’ efforts to pursue discovery, develop the

factual record, and align the pleadings with the facts in a timely fashion.

       B.      Plaintiffs’ Amendment Is Made in Good Faith.

       Courts in this Circuit have found bad faith only in egregious circumstances such as

“where the moving party sought to add defendants without knowledge as to all defendants’

potential liability, added allegations merely to evade the tolling of the statute of limitations, or

acted with dilatory motive.” Kate Spade LLC v. Vinci Brands LLC, No. 23-cv-5409, 2024 WL

4449666, at *4 (S.D.N.Y. Oct. 9, 2024). In the absence of such factors, there is no bad faith, id.;

those factors are not present here. To the contrary, the amendment reflects Plaintiffs’ greater

knowledge of the scope of Defendants’ liability. The amendment bolsters Plaintiffs’ existing

claims and refines the allegations against Defendants to reflect the evidence revealed in

discovery.

       C.      Plaintiffs’ Amendment Is Not Futile.

       “An amendment to a pleading is futile if the proposed claim could not withstand a motion

to dismiss pursuant to Fed. R. Civ. P. 12(b)(6).” Morrison v. Scotia Cap. (USA) Inc., No. 21-cv-

18592023, WL 8307930, at *1 (S.D.N.Y. Dec. 1, 2023) (Stein, J.) (citing Lucente v. Int’l Bus.

Mach. Corp., 310 F.3d 243, 258 (2d Cir. 2002)). Plaintiffs’ amendment is not futile.

               1.      Loan Outs

       Adding Plaintiffs’ loan-out companies is not futile because the loan-out companies

support Plaintiffs’ claim of copyright ownership, which is a required element of a direct

copyright infringement claim. See Boisson v. Banian, Ltd, 273 F.3d 262, 267 (2d Cir. 2001); 17

U.S.C. § 501(b). Under the Copyright Act, the “legal or beneficial owner of an exclusive”



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dataset which contains Plaintiffs’ works, to train its Megatron-NLP LLMs, id. ¶ 68. Plaintiffs

also allege that Microsoft entered into a licensing deal for books for AI training data with

publisher HarperCollins. Id. ¶ 9. These allegations are supported by evidence and are themselves

sufficient to state a claim for direct infringement. See, e.g., Am. Geophysical Union v. Texaco

Inc., 60 F.3d 913, 924–25 (2d Cir. 1994) (explaining that making complete photocopies of

copyrighted articles to avoid paying for them directly infringes their copyrights).

               3.      Vicarious Infringement

       The proposed vicarious infringement claim is likewise not futile. A defendant is

vicariously liable for copyright infringement if it “[1] had the right and ability to supervise the

infringing activity and [2] has a direct financial interest in such activities.” Arista Recs. LLC v.

Lime Grp. LLC, 784 F. Supp. 2d 398, 434–35 (S.D.N.Y. 2011) (quoting Gershwin Pub. Corp. v.

Columbia Artists Mgmt., Inc., 443 F.2d 1159, 1162 (2d Cir. 1971)). Here, Plaintiffs’ allegations

satisfy both prongs.

       Courts find the supervision element satisfied where the defendant had “[t]he ability to

block infringers’ access to a particular environment for any reason whatsoever[.]” White v.

DistroKid, 738 F. Supp. 3d 387, 400 (S.D.N.Y. 2024) (finding supervision where plaintiff

alleged defendant had the ability to remove content from the Digital Stores “for reasons

including failure to pay its annual fee, its receipt of takedown notices submitted to Digital Stores,

or any reason in its business judgment.”). The proposed amended complaint satisfies this element

because it alleges that Microsoft (1) designed, operated, and controlled a custom supercomputer

used to train OpenAI’s LLMs, Ex. 1 ¶¶ 68, 137–38; (2) worked with OpenAI to curate the data

used to develop OpenAI’s LLMs, id. ¶ 141; (3) hired OpenAI CEO Sam Altman when he was

terminated and pressured OpenAI to reinstate him as CEO, id. ¶ 147; and (3) facilitated and

supervised OpenAI’s copyright infringement. id. ¶ 68.



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        As to financial interest, courts find the element satisfied where there is a “causal

relationship between the infringing activity and any financial benefit [the] defendant reaps . . . .”

Rams v. Def Jam Recordings, Inc., 202 F. Supp. 3d 376, 385 (S.D.N.Y. 2016) (quoting A & M

Records, Inc. v. Napster Inc., 239 F.3d 1004, 1023 (9th Cir. 2001)). “The financial benefit need

not be tied directly to sales of the infringing goods . . . nor must it be substantial.” Id.; see also

Arista Recs. LLC v. Lime Grp. LLC, 784 F. Supp. 2d 398, 435 (S.D.N.Y. 2011) (finding financial

interest because “LimeWire users are drawn to LimeWire because the program permits

infringement” and “LW has profited from its ability to attract infringing users, including through

increased advertising revenue and increased sales of LimeWire Pro and authorized music”). The

proposed amended complaint satisfies this element because it alleges that Microsoft has a direct

financial interest in OpenAI’s infringement based on Microsoft’s contractual entitlement to 75%

of OpenAI’s profits until its $13 billion investment is repaid, as well as its 49% ownership stake

in OpenAI’s for-profit operations. Ex. 1 ¶ 68.

        D.      Plaintiffs’ Amendment Is Not Unduly Prejudicial.

        To evaluate undue prejudice, courts consider whether the assertion of the new claim or

defense would “(i) require the non-movant to expend significant additional resources to conduct

discovery and prepare for trial; (ii) significantly delay the dispute’s resolution; or (iii) prevent the

plaintiff from bringing a timely action in another jurisdiction.” Pasternack v. Shrader, 863 F.3d

162, 174 (2d Cir. 2017). “Complaints of the time, effort and money expended in litigating the

matter, without more,” are not prejudice for purposes of amendment. Id. “This inquiry involves a

balancing process, weighing any potential prejudice to the opposing party against the prejudice

that the moving party would experience if the amendment were denied.” Agerbrink v. Model

Serv. LLC, 155 F. Supp. 3d 448, 454 (S.D.N.Y. 2016). “The non-moving party bears the burden




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of demonstrating that substantial prejudice would result were the proposed amendment to be

granted.” Id.

       Here, Plaintiffs’ amendment is not unduly prejudicial. First, the Court has not yet set a

trial date, and the proposed schedule can accommodate any further discovery. See Ruotolo v.

City of New York, 514 F.3d 184, 192 (2d Cir. 2008) (“Undue prejudice arises when an

amendment [comes] on the eve of trial and would result in new problems of proof.”) (quotation

marks and citation omitted). Second, contrary to Defendants’ assertions about further discovery,

the proposed vicarious infringement claim overlaps significantly with Plaintiffs’ existing

contributory infringement claim, and this Court has already ruled that the additional named

OpenAI models are within the scope of discovery. See Franco v. Ideal Mortg. Bankers, Ltd., No.

7-cv–3956, 2009 WL 3150320, at *3 (E.D.N.Y. Sept. 28, 2009) (“This is not a case in which

Defendant would need to re-vamp its trial strategy or prepare to defend against claims based on

new legal theories.”). Moreover, the Second Circuit is clear that an amendment that occasions

additional discovery does not constitute undue prejudice. See U.S. For & on Behalf of Mar.

Admin. v. Cont’l Illinois Nat. Bank & Tr. Co. of Chicago, 889 F.2d 1248, 1255 (2d Cir. 1989)

(“the adverse party’s burden of undertaking discovery, standing alone, does not suffice to

warrant denial of a motion to amend a pleading”); State Tchrs. Ret. Bd. v. Fluor Corp., 654 F.2d

843, 856 (2d Cir. 1981) (leave to amend was appropriate where no trial date had been set or

summary judgment motion filed and the amendment would not involve “a great deal of

discovery” where the “amended claim was obviously one of the objects of discovery and related

closely to the original claim”); see also Dass v. City Univ. of New York, No. 18-cv-11325, 2024

WL 4986914, at *5 (S.D.N.Y. Dec. 5, 2024) (“the prospect of spending more time, effort, or

money on litigation—including through additional discovery and motion practice—does not




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render an amended complaint unduly prejudicial.”). Third, the proposed amendment will not

delay the schedule, and Plaintiffs continue to push for an expeditious progression of this matter.

See Dkt. 396 (opposing Defendants’ request to continue the April 10, 2025 conference).

V.     Conclusion

       Because each of the Foman factors weighs in their favor, Plaintiffs respectfully request

the Court grant them leave to amend.

 Dated: April 11, 2025                            Respectfully submitted,

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                              PROOF OF SERVICE VIA ECF

       On April 11, 2025, I caused the foregoing document, Plaintiffs’ Motion for Leave to

Amend the Complaint, to be served on all counsel of record via ECF.



                                               /s/ Rachel Geman
                                               Rachel Geman




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                      LENGTH OF MEMORANUM ATTESTATION

       Pursuant to Local Civil Rule 7.1(c), I certify that Plaintiffs’ Motion for Leave to Amend

the Complaint complies with the word-count limitations because it contains 2,693 words.



                                                /s/ Rachel Geman
                                                Rachel Geman




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